Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 1 of 18




               EXHIBIT A
      Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 2 of 18



 1
                                 IN THE UNITED STATES DISTRICT COURT
 2                                     FOR THE DISTRICT NEVADA
 3   CUNG LE, NATHAN QUARRY, JON FITCH,
     BRANDON VERA, LUIS JAVIER                       Case No. 2:15-cv-01045-RFB-BNW
 4
     VAZQUEZ, and KYLE KINGSBURY, On
 5   Behalf of Themselves and All Others Similarly
     Situated,
 6
                   Plaintiffs,
 7

 8          v.

 9   ZUFFA, LLC, D/B/A ULTIMATE FIGHTING
     CHAMPIONSHIP and UFC,
10
                   Defendant.
11
     KAJAN JOHNSON and CLARENCE
12
     DOLLAWAY, On Behalf of Themselves and All Case No. 2:21-cv-01189-RFB-BNW
13   Others Similarly Situated,

14                 Plaintiffs,
15          vs.
16
     ZUFFA, LLC, TKO OPERATING COMPANY,
17   LLC F/K/A ZUFFA PARENT LLC (D/B/A
     ULTIMATE FIGHTING CHAMPIONSHIP and
18   UFC), and ENDEAVOR GROUP HOLDINGS,
     INC.,
19

20
                   Defendants.
21

22

23

24                                  REVISED PLAN OF ALLOCATION

25

26

27

28



                                        REVISED PLAN OF ALLOCATION
         Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 3 of 18



 1                                              INTRODUCTION

 2           Plaintiffs submit this proposed Revised Plan of Allocation relating to the proceeds of

 3   settlements of the following two class action lawsuits: Le, et al. v. Zuffa, LLC, No. 2:15-cv-1045 (D.

 4   Nev.) (the “Le Action”), and Johnson, et al. v. Zuffa, LLC, et al., No. 2:21-cv-1189 (D. Nev.) (the

 5   “Johnson Action”) (collectively, the “Actions”). Plaintiffs Cung Le, Nathan Quarry, Jon Fitch, Brandon

 6   Vera, Luis Javier Vazquez, and Kyle Kingsbury brought the Le Action against one defendant, Zuffa,

 7   LLC. On August 9, 2023, the Court certified the “Le Class” (see definition below) and appointed

 8   Plaintiffs Cung Le, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and Kyle Kingsbury as the class

 9   representatives for the Le Class (the “Le Class Representatives”). See ECF No. 839, at 78-79. 1 The
10   Johnson Action was brought by plaintiffs Kajan Johnson, Clarence Dollaway, and Tristan Connelly

11   (the proposed “Johnson Settlement Class Representatives”), and named three defendants, Zuffa, LLC,

12   TKO Operating Company, LLC, and Endeavor Group Holdings, Inc. The Le Class Representatives and

13   the Johnson Settlement Class Representatives are collectively referred to as “Plaintiffs,” and the

14   defendants in both Actions are referred to collectively as “Defendants.”

15           Plaintiffs, on behalf of themselves and the proposed Settlement Classes 2 (the Le Class and the
16   Johnson Settlement Class, as discussed below), have agreed to settle their claims against Defendants

17   for a cash payment of $335,000,000, and other important benefits, including prospective relief

18   (hereinafter, the “Settlement”), as described in more detail in Plaintiffs’ motion for preliminary

19   approval of the Settlement. Plaintiffs submit this proposed Revised Plan of Allocation to allocate the

20   $335,000,000 payment (i.e., the “UFC Settlement Fund”), plus any interest earned on the UFC
21   Settlement Fund, and net of Court-awarded attorneys’ fees, expenses, service awards to the Class
22

23

24

25
     1
       Plaintiff Nathan Quarry was proffered as a class representative for the “Identity Rights Class,” which
26
     the Court did not certify. See generally ECF No. 839 at 75-78.
27   2
       Capitalized terms have the same meanings set forth in the April 24, 2024 Settlement Agreement,
28   attached as Exhibit 1 to the Joint Declaration of Eric L. Cramer, Richard A. Koffman, and Joseph R.
     Saveri in Support of Plaintiffs’ Motion for Preliminary Approval of the Settlement (“Joint Decl.”).


                                           REVISED PLAN OF ALLOCATION
         Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 4 of 18



 1   Representatives, Settlement administration and notice costs, and the payment to Nathan Quarry 3 (the

 2   “Net UFC Settlement Fund”).

 3           The Settlement offers compensation from the Net UFC Settlement Fund to Settlement Class

 4   Members. Settlement Class Members may be members of one (or both) of the below defined classes:

 5              •   Le Class: All persons who competed in one or more live professional UFC-
                    promoted MMA bouts taking place or broadcast in the United States from
 6                  December 16, 2010 through June 30, 2017 (the “Le Class Period”). Excluded from
 7                  the Le Class are all persons who are not residents or citizens of the United States
                    unless the UFC paid such persons for competing in a bout fought in the United
 8                  States.

 9              •   Johnson Settlement Class: All persons who competed in one or more live
                    professional UFC-promoted MMA bouts taking place or broadcast in the United
10                  States from July 1, 2017 to the date of preliminary approval of the Settlement (the
                    “Johnson Settlement Class Period”). Excluded from the Johnson Settlement Class
11
                    are all persons who are not residents or citizens of the United States unless the
12                  UFC paid such persons for competing in a bout fought or broadcast in the United
                    States.
13
     As noted above, the Court certified the Le Class on August 9, 2023. ECF No. 839 at 79. Plaintiffs are
14
     moving for provisional certification of the Johnson Settlement Class concurrently with preliminary
15
     approval of the Settlement.
16
             Like the original Plan of Allocation, the Revised Plan of Allocation begins by dividing the Net
17
     Settlement Fund into two tranches: one for the Le Class (the “Le Class Tranche”) and one for the
18
     Johnson Settlement Class (the “Johnson Class Tranche”). It proposes to make this allocation based on
19
     certain differences between the two classes, which include the time periods covered by each class, the
20
     differing degrees of delay experienced by members of the two classes, changes UFC made to its
21
     contracts with fighters since the Le Action was first filed, and the fact that many of the Johnson
22
     Settlement Class members are subject to arbitration clauses and class action waivers. These issues are
23
     covered in more detail below and in the supporting declaration submitted by Plaintiffs’ expert
24
     economist, Hal J. Singer, Ph.D. with the Plan of Allocation filed on May 21, 2024. See Part II.A infra;
25

26

27
     3
28    The Settlement includes a payment to Nathan Quarry to settle his individual “Identity Rights Claim.”
     See Settlement Agreement ¶5.d.

                                                                                                              2
                                           REVISED PLAN OF ALLOCATION
         Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 5 of 18



 1   Declaration of Hal J. Singer, Ph.D. In Support of Plan of Allocation (“Singer Declaration” or “Singer

 2   Decl.”) ¶¶11-15, attached as Exhibit 4 to the Joint Decl. filed on May 21, 2024.

 3            However, in response to concerns raised by the Court at the June 14, 2024 status conference,

 4   Plaintiffs are revising the Plan of Allocation in three material ways: (1) changing the allocation as

 5   between the Le Class Tranche and Johnson Class Tranche so that the split is more heavily weighted in

 6   favor of Le (instead of 75%/25% in Le/Johnson, the split will be 90%/10% Le/Johnson); (2) within

 7   each Tranche alter the allocation so that the number of bouts per claimant is weighted 30% (instead of

 8   20%) and the total compensation per claimant is weighted 70% (instead of 80%); and (3) the minimum

 9   recovery for Le Claimants (defined below) will now be $10,000 (instead of $8,000), 4 the minimum
10   recovery for Johnson Claimants (defined below) without arbitration clauses will be $6,000 (instead of

11   $7,000), and the flat recovery for Johnson Claimants with arbitration clauses will be $3,000 (instead of

12   $5,000).

13            In sum, the Revised Plan of Allocation will split the Net UFC Settlement Fund into two

14   Tranches, as follows: 90 percent to the Le Class (the “Le Class Tranche”) and 10 percent to the Johnson

15   Settlement Class (the “Johnson Settlement Class Tranche”). In the event the total amount to be

16   distributed to all valid claims submitted against the Johnson Settlement Class Tranche (using the

17   method set forth at Part II.C infra) falls below 10 percent of the Net UFC Settlement Fund, then the

18   remainder will be reallocated to the Le Class Tranche.

19            Once the funds are divided into the two Tranches, the Plan of Allocation proposes a method to

20   allocate the funds within each Tranche. For the Le Class Tranche (see Part II.B infra), the shares of all

21   Le Class members who submit valid claims (the “Le Claimants”) will be allocated based upon two pro

22   rata factors: (i) the total compensation each received from the UFC for participating in UFC bouts

23   (referred to as “Event Compensation”) during the Le Class Period; and (ii) the total number of bouts

24   each fought during the Le Class Period. Id. ¶16. Under the Plan of Allocation, Le Claimants will have a

25   minimum recovery amount set at $10,000. Id.

26

27

28   4
         The actual calculated minimum recovery for Le Claimants will likely be above $13,000.

                                                                                                             3
                                            REVISED PLAN OF ALLOCATION
      Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 6 of 18



 1          For the Johnson Settlement Class Tranche (see Part II.C infra), all Johnson Settlement Class

 2   members who submit valid claims (the “Johnson Claimants”) will be sorted into two sub-groups based

 3   on whether the Claimant was subject to an arbitration clause or class action waiver during the Johnson

 4   Settlement Class Period. The two sub-groups will be divided as follows: (a) those Johnson Claimants

 5   who were not subject to an arbitration clause or a class action waiver will comprise the “Johnson Non-

 6   Arbitration Claimants;” and (b) those Johnson Claimants who were subject to an arbitration clause or a

 7   class action waiver will comprise the “Johnson Arbitration Claimants.” See generally Singer Decl.

 8   ¶¶20-21. The Johnson Non-Arbitration Claimants will be allocated their shares based upon two pro

 9   rata factors: (i) Event Compensation paid to Johnson Non-Arbitration Claimants during the Johnson

10   Settlement Class Period; and (ii) the total number of bouts fought by Johnson Non-Arbitration

11   Claimants during the Johnson Settlement Class Period. This allocation process mirrors that used for the

12   Le Claimants, described above. The Johnson Non-Arbitration Claimants will each receive a minimum

13   recovery of $6,000, and the Johnson Arbitration Claimants will each receive a fixed recovery amount

14   of $3,000, which reflects the low value of these claims (relative to the rest).

15          Finally, to ensure fairness between the Le Claimants and the Johnson Claimants, the individual

16   distribution amounts provided to Johnson Non-Arbitration Claimants from the Johnson Settlement

17   Class Tranche will be capped at the larger of (a) 10 percent of each Johnson Non-Arbitration

18   Claimant’s Event Compensation during the Johnson Settlement Class Period, and (b) $6,000. Id. ¶22;

19   see also Part II.C.

20          Further, there are approximately 485 fighters who are in both classes. Any Settlement Class

21   Member who is both a Le Claimant and a Johnson Claimant will receive the sum of the two allocation

22   procedures used for the Le Class Tranche and the Johnson Settlement Class Tranche. See Singer Decl.

23   ¶26; Part II.D. Notably, over 25% of the fighters without arbitration clauses in the two Settlement

24   Classes (combined) will receive dual payments, and thus benefit from both Tranches. This fact is

25   further proof of the alignment of the interests of the members of both Settlement Classes.

26

27

28


                                                                                                           4
                                            REVISED PLAN OF ALLOCATION
         Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 7 of 18



 1           Additionally, the proposed Plan of Allocation describes: (i) the timing and manner by which the

 2   Claims Administrator 5 will issue Claim Forms to Settlement Class Members and the deadline for
 3   timely-filed Claim Forms (see Part I); (ii) the method by which the Claims Administrator will process

 4   Claim Forms (see Parts III & IV); (iii) the timing for the Claims Administrator’s report to the Court on

 5   the proposed distribution of the Net UFC Settlement Fund (see Part V); (iv) the timeframe for the

 6   distribution to Claimants upon approval by the Court (see Part VI); and (v) the procedure Claimants

 7   may use to challenge determinations made by the Claims Administrator (see Part VII).

 8           The proposed Revised Plan of Allocation is practical, equitable, and efficient. It relies upon

 9   structured compensation and other data and information that Zuffa produced in litigation and as part of

10   the Settlement, along with minimum or fixed recovery amounts that promote efficiency and account

11   fairly for important factors relevant to the value of certain claims. The proposed Revised Plan of

12   Allocation is a reasonable way to allocate the Net UFC Settlement Fund and is fair to all members of

13   the Settlement Classes.

14                                      THE PLAN OF ALLOCATION

15           The proposed Plan of Allocation works as follows:

16           I.     ISSUANCE OF CLAIM FORMS AND TIMELINESS OF COMPLETED CLAIM
                    FORMS
17
             1.     No later than 60 days after the Court issues an order finally approving the Settlement
18
     and Plan of Allocation (“Final Approval”), Angeion will mail (via email or mail) a separate,
19
     individualized claim form (the “Claim Form”) to each Settlement Class Member for which Angeion
20
     has a valid and current address or email address. The Claim Form will be pre-populated with each
21
     Settlement Class Member’s total compensation from the UFC for bouts (for the applicable class and
22
     class period), number of bouts fought (for the applicable class and class period), and whether or not the
23
     Settlement Class Member had an arbitration clause or class action waiver in their Promotional and
24
     Ancillary Rights Agreement with the UFC (for the Johnson Settlement Class), along with the full name
25

26

27
     5
28     Plaintiffs’ motion for preliminary approval of the Settlement requests that Angeion Group LLC
     (“Angeion”) be appointed the Claims Administrator.

                                                                                                              5
                                            REVISED PLAN OF ALLOCATION
         Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 8 of 18



 1   and mailing address for correspondence regarding the distribution of the Net UFC Settlement Fund. 6 If
 2   a Settlement Class Member does not receive a Claim Form by mail or email, the Settlement Class

 3   Member may request a Claim Form from the Settlement Website (www.UFCFighterClassAction.com)

 4   or contact Angeion at 1-866-955-5564. Each Settlement Class Member will be required to execute

 5   the Claim Form to receive any distribution from the Net UFC Settlement Fund. The Claim Form

 6   will indicate that it can be submitted electronically via an online portal available on the Settlement

 7   Website or may be emailed or mailed via first class mail to Angeion.

 8           2.     Angeion, working with Dr. Singer’s firm, Econ One Research, Inc. (“Econ One”), will

 9   prepare the pre-populated Claim Forms provided to Settlement Class Members. See Singer Decl. ¶¶9,

10   19, 25. The Claim Forms will ask Settlement Class Members to verify the accuracy of the information

11   contained in the Claim Forms and will provide instructions for challenging the information set forth in

12   the Claim Forms regarding Event Compensation, number of bouts, and whether the Settlement Class

13   Member was subject to an arbitration clause or class action waiver. If a Settlement Class Member

14   agrees that the information in the pre-populated Claim Form is accurate, the Settlement Class Member

15   will be asked to sign and return the Claim Form to Angeion. If a Settlement Class Member believes that

16   the information contained in the pre-populated Claim Form is not accurate, that Settlement Class

17   Member may submit his or her own information (e.g., demonstrating a different figure for Event

18   Compensation and/or participation in a different number of bouts during the relevant class period,

19   and/or information showing the Johnson Settlement Class Member was not subject to an arbitration

20   clause or a class action waiver) pursuant to the procedures described below.

21           3.     The submission of the Claim Forms to Angeion (with any necessary supporting

22   documentation if the Settlement Class Member disagrees with any information contained in their Claim

23   Form) will be deemed timely if they are received within 105 days of Final Approval.

24

25

26

27   6
      For those 485 Settlement Class Members who are members of the Le Class and the Johnson
28   Settlement Class, the Claim Forms will include Claimant information necessary for computing the
     appropriate allocation from both the Le Class Tranche and the Johnson Settlement Class Tranche.

                                                                                                              6
                                            REVISED PLAN OF ALLOCATION
      Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 9 of 18



 1          II.     ALLOCATION OF THE NET UFC SETTLEMENT FUND BETWEEN THE LE
                    CLASS AND THE JOHNSON SETTLEMENT CLASS AND ALLOCATION
 2                  AMONG MEMBERS OF EACH SETTLEMENT CLASS

 3                  A.      Net UFC Settlement Fund Allocation Between the Le Class and the Johnson
                            Settlement Class
 4
            4.      The Net Settlement Fund will be divided into two Tranches as follows: 90 percent to the
 5
     Le Class (the “Le Class Tranche”) and 10 percent to the Johnson Settlement Class (the “Johnson
 6
     Settlement Class Tranche”). The proposed allocation between the Le Class and the Johnson Settlement
 7
     Class is justified on, at least, four grounds. First, the Le Action is much older and covers an earlier class
 8
     period. Accordingly, on a “time value of money basis,” the Le Class members who have been subject to
 9
     more delay in compensation for the alleged misconduct are entitled to a higher recovery, all things
10
     equal, relative to members of the Johnson Settlement Class. Second, the Le Action was certified
11
     pursuant to Fed. R. Civ. P. 23 and was fully litigated up to the eve of trial, while the Johnson Action
12
     was in the early stage of discovery (a motion to dismiss the operative Amended Complaint had not yet
13
     been filed) at the time of Settlement. Thus, plaintiffs and the certified Class in the Le Action had more
14
     leverage in settlement negotiations than the plaintiffs in the Johnson Action, and indeed, the Johnson
15
     Settlement Class members benefitted from the leverage afforded by their case being litigated alongside
16
     the Le Action. Third, the UFC appears to have made certain potentially helpful changes to its fighter
17
     contracts after the Le Action, which benefitted the Johnson Settlement Class members. Fourth, more
18
     than half of the Johnson Settlement Class members are subject to arbitration clauses and provisions
19
     waiving participation in class actions, which (if upheld) would impact the overall value of the claims
20
     brought by the Johnson Settlement Class.
21
            5.      Dr. Singer also analyzed the available data and information produced by Zuffa, which
22
     includes the total amount of the Event Compensation paid to, and bouts fought by, Settlement Class
23
     Members during the class periods and information on the number of Johnson Settlement Class
24
     members subject to arbitration clauses or class action waivers. See Singer Decl. ¶12 & nn.10-11; id.
25
     ¶10. In the event the calculated total amount allocated for all valid claims submitted against the
26
     Johnson Settlement Class Tranche (using the method set forth in Part II.C below) falls below 10
27

28


                                                                                                               7
                                            REVISED PLAN OF ALLOCATION
     Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 10 of 18



 1   percent of the Net UFC Settlement Fund, then the remainder will be reallocated to the Le Class

 2   Tranche. Id. ¶¶10, 24.

 3                  B.        Allocation of the Le Class Tranche Amongst Le Claimants

 4          6.      The 90 percent of the Net UFC Settlement Fund allocated to the Le Class Tranche will

 5   be allocated to Le Class members who submit valid claims (the “Le Claimants”) on a pro rata basis. 7
 6   Id. ¶16. Each Le Claimant will be allocated his or her share based upon two pro rata factors: (i) the

 7   total compensation each received from the UFC for participating in UFC bouts (i.e., the fighter’s Event

 8   Compensation) during the Le Class Period; and (ii) the total number of bouts each fought during the Le

 9   Class Period. Id. The Le Class Tranche allocation will be divided into two sub-tranches, reflecting the

10   above two factors, with 70 percent of the Le Class Tranche allocation to comprise the “Le Event

11   Compensation sub-tranche,” and 30 percent of the Le Class Tranche allocation to comprise the “Le

12   Number of Bouts sub-tranche.” Id. Le Claimants will receive a minimum recovery amount of $10,000.

13   Id.

14          7.      The 70/30 split between Event Compensation and number of bouts fought is justified

15   because in a more competitive but-for world, Zuffa may have increased its payments to lower-paid

16   fighters proportionally more than it would have increased its payments to top fighters, because all else

17   equal, even if top fighters could not leave Zuffa, they may have agitated for themselves more

18   aggressively, and with more leverage, given their popularity. As a result, allocating 30 percent of the

19   compensation based on number of bouts fought (as opposed to basing allocation simply on total

20   compensation earned) recognizes that certain journeymen fighters with less name recognition may have

21   been harmed more than the more popular fighters.

22

23

24

25

26

27   7
      As noted supra, the allocation of the Net UFC Settlement Fund to the Le Class Tranche may exceed
28   90 percent depending upon whether the total amount allocated for all valid claims submitted by
     Johnson Settlement Class members is less than 10 percent of the Net UFC Settlement Fund.

                                                                                                               8
                                           REVISED PLAN OF ALLOCATION
     Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 11 of 18



 1                  C.     Allocation of the Johnson Settlement Class Tranche Amongst Johnson
                           Claimants
 2
            8.      The total funds in the Johnson Settlement Class Tranche will be allocated to each
 3
     Johnson Settlement Class member who submits a valid claim (the “Johnson Claimants”) based on
 4
     whether the Claimant was subject to an arbitration clause or a class action waiver during the Johnson
 5
     Settlement Class Period. See Singer Decl. ¶¶20-21. Accordingly, the Johnson Settlement Class Tranche
 6
     will be divided into two groups of Claimants: (a) those Johnson Claimants who were not subject to an
 7
     arbitration clause or a class action waiver during the Johnson Settlement Class Period; and (b) those
 8
     Johnson Claimants who were subject to an arbitration clause or a class action waiver during the
 9
     Johnson Settlement Class Period.
10
            9.      The portion of the Johnson Settlement Class Tranche allocated to the Johnson Non-
11
     Arbitration Claimants shall be allocated based upon two pro rata factors: (i) the total compensation
12
     each received from the UFC for participating in UFC bouts (i.e., the fighter’s Event Compensation)
13
     during the Johnson Settlement Class Period; and (ii) the total number of bouts each fought during the
14
     Johnson Settlement Class Period. Id. ¶21. These two pro rata factors will be weighted with 70 percent
15
     of the distribution amount based on the Event Compensation factor and 30 percent of the distribution
16
     amount based on the number of bouts factor. This allocation process mirrors that used for the Le
17
     Claimants, described above.
18
            10.     The Johnson Arbitration Claimants will receive a fixed recovery amount of $3,000 each.
19
     Should a court enforce the arbitration clauses and/or class action waivers in the Johnson Arbitration
20
     Claimants’ contracts with the UFC, these claims would have little practical value.
21
            11.     To ensure fairness between the Le Claimants and the Johnson Claimants, individual
22
     distribution amounts provided to the Johnson Non-Arbitration Claimants will be capped at the larger of
23
     (a) 10 percent of each Johnson Non-Arbitration Claimant’s total compensation for bouts during the
24
     Johnson Settlement Class Period, and (b) $6,000. Id. ¶22. As noted above, should any funds remain in
25
     the Johnson Settlement Class Tranche after these calculations, then the remainder will be reallocated to
26
     the Le Class Tranche. Id. ¶ 24.
27

28


                                                                                                             9
                                           REVISED PLAN OF ALLOCATION
     Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 12 of 18



 1                  D.     Allocation of the Net UFC Settlement Fund to Settlement Class Members
                           who are both Le Claimants and Johnson Claimants
 2
            12.     Any Settlement Class Member who is both a Le Claimant and a Johnson Claimant will
 3
     receive a distribution amount that is the sum of the two allocation procedures used for the Le Class
 4
     Tranche and the Johnson Settlement Class Tranche for that individual. Id. ¶26.
 5
            III.    PROCESSING CLAIMS
 6
            13.     All Claim Forms submitted by Settlement Classes Members will be reviewed and
 7
     processed by Angeion, with assistance from Dr. Singer and his staff at Econ One and Co-Lead Class
 8
     Counsel, 8 as required and appropriate.
 9
                    A.     Acceptance and Rejection of Claim Forms
10
            14.     Angeion shall first determine whether a submitted Claim Form is timely, properly
11
     completed, and signed. If a Claim Form is incomplete, Angeion shall communicate with the Claimant
12
     via mail, email, or telephone regarding the deficiency. Angeion may also contact Claimants requesting
13
     additional documentation or other materials. Claimants will have 28 days from the date they are
14
     contacted by Angeion to cure any identified deficiency. If a Claimant fails to respond adequately and/or
15
     correct any deficiency within 28 days, his or her claim may be rejected, and the Claimant shall be
16
     notified in writing the reason for rejection. Angeion will then review all completed, non-deficient
17
     Claim Forms to determine whether each will be accepted or rejected. Upon completing that process, if
18
     a claim is rejected, Angeion shall notify any such Claimants in writing the reason for rejection. Any
19
     Claimant whose Claim Form is rejected may seek review by the Court via the appeals process
20
     described in Part VII below.
21
            15.     All correctly completed late Claims Forms will be processed by Angeion but marked as
22
     “Late Approved Claims.” If Co-Lead Class Counsel conclude that, in their judgment, any such Late
23
     Approved Claims should ultimately not be accepted, the Claimant will be so notified, and then may
24
     seek review by the Court via the appeals process described in Part VII below.
25

26

27
     8
28    “Co-Lead Class Counsel” means Berger Montague PC, Cohen Milstein Sellers & Toll PLLC, and
     Joseph Saveri Law Firm, LLP, as appointed in the Le Action. See ECF Nos. 139 & 839.

                                                                                                             10
                                           REVISED PLAN OF ALLOCATION
     Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 13 of 18



 1                  B.      The Pro Rata Distribution Calculation for Le Claimants

 2          16.     Econ One, in consultation with Angeion and Co-Lead Class Counsel, will determine,

 3   pursuant to the methodology described in Parts II.A & B above, each Le Claimant’s proportionate share

 4   of the Le Class Tranche using the Event Compensation and bout data produced by Zuffa. Le Claimants

 5   will have the option of accepting the amounts on a pre-populated Claim Form sent to each member of

 6   the Le Class by Angeion or submitting their own data and information to Angeion. Econ One will

 7   review any such submissions and confer with Angeion and Co-Lead Class Counsel regarding the final

 8   calculations, which may include making any necessary and appropriate adjustments to ensure accuracy

 9   and fairness across Le Claimants.

10                  C.      The Pro Rata Distribution Calculation for Johnson Claimants

11          17.     Econ One, in consultation with Angeion and Co-Lead Class Counsel, will determine,

12   pursuant to the methodology described in Part II.A & C above, each Johnson Claimant’s proportionate

13   share of the Johnson Settlement Class Tranche using the following information produced by Zuffa: (i)

14   Event Compensation data for Johnson Claimants; (ii) number of bouts fought by Johnson Claimants;

15   and (iii) contract information identifying Johnson Claimants subject to arbitration clauses or class

16   action waivers. Johnson Claimants will have the option of accepting the amounts on a pre-populated

17   claim form sent to each member of the Johnson Settlement Class by Angeion or submitting their own

18   data and information to Angeion. Econ One will review any such submissions and confer with Angeion

19   and Co-Lead Class Counsel regarding the final calculations, which may include making any necessary

20   and appropriate adjustments to ensure accuracy and fairness across Johnsons Claimants.

21          IV.     PROCESSING CHALLENGED CLAIMS

22          18.     Angeion, in consultation with Econ One and Co-Lead Class Counsel, shall review all

23   written challenges by Claimants to Angeion’s determinations. If upon review of a challenge and any

24   supporting documentation submitted by the Claimant, Angeion and Econ One, or Co-Lead Class

25   Counsel, decide to amend or modify their determination, Angeion shall advise the Claimant who made

26   the challenge. Any such determinations shall be final, subject to the appeals process described in Part

27   VII below.

28


                                                                                                            11
                                           REVISED PLAN OF ALLOCATION
     Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 14 of 18



 1          19.     Where Angeion, in consultation with Econ One or Co-Lead Class Counsel, determines

 2   that a challenge requires additional information or documentation, Angeion shall so advise the

 3   Claimant and provide that Claimant an opportunity to cure the deficiency within 28 days, as set forth in

 4   Part III.A above. If that Claimant fails to cure the deficiency within that time, the challenge will be

 5   rejected and the Claimant will be notified of the rejection of their challenge in writing, which

 6   notification shall be deemed final subject to the appeals process described below in Part VII below.

 7          20.     If Angeion, in consultation with Econ One or Co-Lead Class Counsel, concludes that it

 8   has enough information to properly evaluate a challenge and maintains that its initial determinations

 9   were correct, it will so inform the Claimant in writing. Such notification shall be deemed final subject

10   to any appeal and decision by the Court.

11          V.      REPORT TO THE COURT REGARDING DISTRIBUTION
                    OF THE NET UFC SETTLEMENT FUND
12
            21.     Angeion will work with Econ One to determine the amount that: (a) each Le Claimant is
13
     entitled to receive from the Le Class Tranche; and (b) the amount each Johnson Claimant is entitled to
14
     receive from the Johnson Settlement Class Tranche. After this process is completed, Angeion will
15
     prepare a final report for the Court’s review and approval (“Final Report”). The Final Report will
16
     explain the tasks and methodologies employed by Angeion in processing the claims and administering
17
     the Plan of Allocation. It will also contain (i) a list of purported Settlement Class Members who filed
18
     Claim Forms that were rejected and the reasons for the rejections, (ii) a list of challenges (if any) to the
19
     estimated distribution amounts that were rejected and the reasons for rejecting the challenges, and (iii)
20
     the date any such Claimant whose challenge was rejected was informed by Angeion of that rejection
21
     for purposes of calculating the timeliness of any appeal using the procedures set forth below. Finally,
22
     the Final Report shall contain an accounting of the expenses associated with the Plan of Allocation,
23
     including bills from Econ One and Angeion, any taxes that are due and owing, and any other fees or
24
     expenses associated with the settlement administration and allocation process. Those costs are to be
25
     paid by out of the UFC Settlement Fund upon Court approval.
26

27

28


                                                                                                               12
                                            REVISED PLAN OF ALLOCATION
     Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 15 of 18



 1             VI.    PAYMENT TO LE AND JOHNSON CLAIMANTS

 2             22.    Upon Court approval of the Final Report, Angeion shall issue, with Court approval, a

 3   check or wire payable to each Le Claimant and Johnson Claimant who has submitted a complete,

 4   timely, and valid Claim Form and who is entitled to a recovery under this Plan of Allocation, including

 5   to each Le Claimant and Johnson Claimant that filed a Late Approved Claim (as approved by the

 6   Court).

 7             23.    Subject to further Order of the Court, any monies from the Net UFC Settlement Fund

 8   that remain unclaimed after any initial distribution shall, if economically feasible, be distributed to

 9   Claimants in an additional pro rata distribution or distributions as proposed by Co-Lead Class Counsel

10   and approved by the Court.

11             24.    Insofar as the Net UFC Settlement Fund includes residual funds after distribution or

12   distributions as set forth in the preceding sections that cannot be economically or efficiently distributed

13   to the Claimants (because of the costs of distribution as compared to the amount remaining), Co-Lead

14   Class Counsel shall make an application to the Court for such sums to be used to make cy pres

15   payments to an appropriate charitable organization.

16             VII.   RESOLUTION OF DISPUTES

17             25.    In the event of any disputes between Claimants and Angeion on any subject (e.g.,

18   timeliness, required completeness or documentation of a claim, the calculation of a Claimant’s pro rata

19   share of either the Le Class Tranche and/or the Johnson Settlement Class Tranche), the decision of

20   Angeion shall be final, subject to the Claimant’s right to seek review by the Court. In notifying a

21   Claimant of the final rejection of a Claim or a challenge thereto, Angeion shall notify the Claimant of

22   his or her right to seek such review.

23             26.    Any such appeal by a Claimant must be submitted in writing to the Court, with copies to

24   Angeion and Co-Lead Class Counsel, within 21 days of Angeion’s sending a final rejection notification

25   to the Claimant.

26

27

28


                                                                                                               13
                                             REVISED PLAN OF ALLOCATION
     Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 16 of 18



 1   Dated: June 24, 2024                  Respectfully submitted,

 2                                         /s/ Eric L. Cramer
                                           Eric L. Cramer (pro hac vice)
 3                                         Michael Dell’Angelo (pro hac vice)
                                           Ellen T. Noteware (pro hac vice)
 4
                                           Patrick F. Madden (pro hac vice)
 5                                         Najah Jacobs (pro hac vice)
                                           BERGER MONTAGUE PC
 6                                         1818 Market St., Suite 3600
                                           Philadelphia, PA 19103
 7                                         Telephone: +1 (215) 875-3000
                                           Email: ecramer@bm.net
 8
                                           Email: mdellangelo@bm.net
 9                                         Email: enoteware@bm.net
                                           Email: pmadden@bm.net
10                                         Email: njacobs@bm.net
11                                         Joshua P. Davis (pro hac vice)
12                                         BERGER MONTAGUE PC
                                           505 Montgomery Street, Suite 625
13                                         San Francisco, CA 94111
                                           Telephone: +1 (415) 906-0684
14                                         Email: jdavis@bm.net
15                                         Richard A. Koffman (pro hac vice)
16                                         Benjamin Brown (pro hac vice)
                                           Daniel Silverman (pro hac vice)
17                                         Daniel L. Gifford (pro hac vice)
                                           COHEN MILSTEIN SELLERS & TOLL
18                                            PLLC
                                           1100 New York Ave., N.W.
19                                         Suite 500 East, Tower
20                                         Washington, DC 20005
                                           Telephone: +1 (202) 408-4600
21                                         Facsimile: +1 (202) 408-4699
                                           Email: rkoffman@cohenmilstein.com
22                                         Email: bbrown@cohenmilstein.com
                                           Email: dsilverman@cohenmilstein.com
23
                                           Email: dgifford@cohenmilstein.com
24

25

26

27

28


                                                                                 14
                                 REVISED PLAN OF ALLOCATION
     Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 17 of 18



 1                                         Joseph R. Saveri (pro hac vice)
                                           Kevin E. Rayhill (pro hac vice)
 2                                         Christopher Young (pro hac vice)
                                           Itak Moradi (pro hac vice)
 3
                                           JOSEPH SAVERI LAW FIRM, LLP
 4                                         601 California St., Suite 1505
                                           San Francisco, CA 94108
 5                                         Telephone: +1 (415) 500-6800
                                           Facsimile: +1 (415) 395-9940
 6                                         Email: jsaveri@saverilawfirm.com
                                           Email: krayhill@saverilawfirm.com
 7
                                           Email: cyoung@saverilawfirm.com
 8                                         Email: imoradi@saverilawfirm.com

 9                                         Co-Lead Counsel for the Le Class, Settlement
                                           Class Counsel for the Le Settlement Class and
10                                         the Johnson Settlement Class and Attorneys
                                           for Individual and Representative Plaintiffs
11                                         Cung Le, Nathan Quarry, Jon Fitch, Brandon
                                           Vera, Luis Javier Vazquez, Kyle Kingsbury,
12                                         Kajan Johnson, Clarence Dollaway, and
                                           Tristan Connelly
13

14                                         Don Springmeyer (Bar No. 1021)
                                           KEMP JONES, LLP
15
                                           3800 Howard Hughes Parkway, 17th Floor
16                                         Las Vegas, Nevada 89169
                                           Telephone: + 1 (702) 385-6000
17                                         Facsimile: + 1 (702) 385-6001
                                           Email: dspringmeyer@kempjones.com
18
                                           Liaison Counsel for the Le Class, Settlement
19
                                           Class Counsel for the Le Settlement Class and
20                                         the Johnson Settlement Class and Attorneys
                                           for Individual and Representative Plaintiffs
21                                         Cung Le, Nathan Quarry, Jon Fitch, Brandon
                                           Vera, Luis Javier Vazquez, Kyle Kingsbury,
22                                         Kajan Johnson, Clarence Dollaway, and
                                           Tristan Connelly
23

24

25

26

27

28


                                                                                           15
                                 REVISED PLAN OF ALLOCATION
     Case 2:15-cv-01045-RFB-BNW Document 1029-1 Filed 06/24/24 Page 18 of 18



 1                                         Robert C. Maysey (pro hac vice)
                                           Jerome K. Elwell (pro hac vice)
 2                                         WARNER ANGLE HALLAM JACKSON
                                               & FORMANEK PLC
 3
                                           2555 E. Camelback Road, Suite 800
 4                                         Phoenix, AZ 85016
                                           Telephone: +1 (602) 264-7101
 5                                         Facsimile: +1 (602) 234-0419
                                           Email: rmaysey@warnerangle.com
 6                                         Email: jelwell@warnerangle.com
 7
                                           Crane M. Pomerantz
 8                                         CLARK HILL PLC
                                           1700 Pavilion Center Dr., Suite 500
 9                                         Las Vegas, NV 89135
                                           Telephone: +1 (702) 697-7545
10                                         Email: cpomerantz@clarkhill.com
11
                                           Additional Counsel for the Le Settlement
12                                         Class and the Johnson Settlement Class and
                                           Attorneys for Individual and Representative
13                                         Plaintiffs Cung Le, Nathan Quarry, Jon Fitch,
                                           Brandon Vera, Luis Javier Vazquez, Kyle
14                                         Kingsbury, Kajan Johnson, Clarence
15                                         Dollaway, and Tristan Connelly

16

17

18

19

20
21

22

23

24

25

26

27

28


                                                                                           16
                                 REVISED PLAN OF ALLOCATION
